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                               Exhibit 4
           Case
3/14/23, 8:36 AM 4:20-cv-00447-ALM       Document 110-4 Yahoo
                                                        FiledMail
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                                                                  - Huddleston Page 2 of 2 PageID #: 3986




     Huddleston

     From: Ty Clevenger (tyclevenger@yahoo.com)

     To:      andrea.parker@usdoj.gov

     Date: Thursday, February 23, 2023 at 11:55 AM EST



     Andrea,

     After I filed the response / cross-motion on 2/21, someone sent me information about
     companies other than CrowdStrike that investigated the DNC hack in 2016. I've posted
     some links below. If the FBI has copies of reports / communications from these
     companies (or other companies or individuals), I believe those reports /
     communications would be covered by our request.

     Ty


     https://threatconnect.com/news/guccifer-2-0-dnc-breach/

     https://www.mandiant.com/sites/default/files/2021-09/APT28-Center-of-Storm-
     2017.pdf

     https://fidelissecurity.com/threatgeek/archive/findings-analysis-dnc-intrusion-
     malware/




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